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UNITED STATES DISTRICT COURT

 

DISTRICT OF NEW JERSEY
)
ROOFERS’ PENSION FUND, ) Civil Action No. 2:16-cv-02805-MCA-
Individually and On Behalf of All ) LDW
Others Similarly Situated, )
)
Plaintiffs, )
) DECLARATION OF JAMES E.
Vv. ) ANKLAM IN SUPPORT OF
) DEFENDANTS’ OPPOSITION TO
PERRIGO COMPANY PLC, et al., ) LEAD PLAINTIFF’S MOTION FOR
) CLASS CERTIFICATION
Defendants. )
)
)
)
)

 

JAMES E. ANKLAM declares pursuant to 28 U.S.C. § 1746 as follows:

ls I am a partner of the law firm Fried, Frank, Harris, Shriver & Jacobson LLP,
attorneys for defendant Perrigo Company ple. I submit this Declaration in Support of
Defendants’ Opposition to Lead Plaintiff's Motion for Class Certification, submitted by
defendants Perrigo Company plc, Joseph Papa, and Judy Brown, by and through their
respective counsel. I have personal knowledge of the facts asserted herein, and could
testify to those facts if called to do so.

2. Attached as Exhibit 1 is a true and correct copy of Plaintiffs’ Amended

Complaint for Violation of the Federal Securities Laws, dated June 21, 2017.
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3. Attached as Exhibit 2 is a true and correct copy of excerpts from the Perrigo
Company ple Current Report, filed with the SEC on Form 8-K on December 13, 2013.

4, Attached as Exhibit 3 is a true and correct copy of excerpts from the Perrigo
Company ple Current Report, filed with the SEC on Form 8-K on November 12, 2014.

5. Attached as Exhibit 4 is a true and correct copy of excerpts from the Perrigo
Company ple Quarterly Report for the quarter ending December 27, 2014, filed with the
SEC on Form 10-Q on February 5, 2015

6. Attached as Exhibit 5 is a true and correct copy of the Perrigo Company plc
Current Report, filed with the SEC on Form 8-K on March 30, 2015

7. Attached as Exhibit 6 is a true and correct copy of the Perrigo Company ple
Current Report, filed with the SEC on Form 8-K on April 9, 2015.

8. Attached as Exhibit 7 is a true and correct copy of the Perrigo Company ple
Current Report, filed with the SEC on Form 8-K on April 21, 2015.

9. Attached as Exhibit 8 is a true and correct copy of the Perrigo Company ple
Current Report, filed with the SEC on Form 8-K on April 24, 2015.

10. Attached as Exhibit 9 is a true and correct copy of the Perrigo Company ple
Current Report, filed with the SEC on Form 8-K on April 29, 2015.

11. Attached as Exhibit 10 is a true and correct copy of excerpts from the Perrigo
Company ple Quarterly Report for the quarter ending March 28, 2015, filed with the SEC

on Form 10-Q on April 29, 2015.
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12. Attached as Exhibit 11 is a true and correct copy of excerpts from the Perrigo
Company plc Annual Report for the year ending June 27, 2015, filed with the SEC on Form
10-K on August 13, 2015.

13. | Attached as Exhibit 12 is a true and correct copy of the Perrigo Company plc
Current Report, filed with the SEC on Form 8-K on September 14, 2015.

14. Attached as Exhibit 13 is a true and correct copy of excerpts from the Perrigo
Company plc Current Report, filed with the SEC on Form 8-K on November 13, 2015.

15. Attached as Exhibit 14 is a true and correct copy of excerpts from the Perrigo
Company ple Current Report, filed with the SEC on Form 8-K on February 18, 2016.

16. Attached as Exhibit 15 is a true and correct copy of excerpts from the Perrigo
Company plc Annual Report for the year ending December 31, 2015, filed with the SEC
on Form 10-KT on February 25, 2016.

17. Attached as Exhibit 16 is a true and correct copy of excerpts from the Perrigo
Company ple Current Report, filed with the SEC on Form 8-K on May 16, 2016.

18. Attached as Exhibit 17 is a true and correct copy of excerpts from the Perrigo
Company ple Quarterly Report for the quarter ending July 2, 2016, filed with the SEC on
Form 10-Q on August 10, 2016.

19. Attached as Exhibit 18 is a true and correct copy of excerpts from the Perrigo

Company ple Annual Report, filed with the SEC on Form 8-K on November 10, 2016.
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20. Attached as Exhibit 19 is a true and correct copy of excerpts from the Perrigo
Company ple Annual Report for the year ending December 31, 2016, filed with the SEC
on Form 10-K on May 22, 2017.

21. Attached as Exhibit 20 is a true and correct copy of a transcript of the Perrigo
Company plc first quarter 2015 earnings conference call, dated November 6, 2014.

22. Attached as Exhibit 21 is a true and correct copy of a transcript of the Perrigo
Company ple second quarter 2015 earnings conference call, dated February 5, 2015.

23. Attached as Exhibit 22 is a true and correct copy of a transcript of the Perrigo
Company ple fourth quarter 2015 earnings conference call, dated February 18, 2016.

24. Attached as Exhibit 23 is a true and correct copy of excerpts from the Mylan
N.V. Quarterly Report for the quarter ending September 30, 2016, filed with the SEC on
Form 10-Q on November 9, 2016.

25. Attached as Exhibit 24 is a true and correct copy of excerpts from the Aceto
Corporation Current Report, filed with the SEC on Form 8-K on December 21, 2016.

26. Attached as Exhibit 25 is a true and correct copy of the Perrigo Company ple
Prospectus Form, filed by Mylan N.V. with the SEC on Form 425 on April 24, 2015.

27. Attached as Exhibit 26 is a true and correct copy of Mylan N.V.’s preliminary
proxy statement filed with the SEC on Form 14A on May 5, 2015.

28. Attached as Exhibit 27 is a true and correct copy of Mylan N.V.’s proxy
statement definitive additional materials filed with the SEC on Form 14A on August 20,

2015.
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29. Attached as Exhibit 28 is a true and correct copy of the Perrigo Company plc
Prospectus Form, filed by Mylan N.V. with the SEC on Form 425 on August 28, 2015.

30. Attached as Exhibit 29 is a true and correct copy of the Perrigo Company plc
Prospectus Form, filed with the SEC on Form 425 on September 14, 2015.

31. | Attached as Exhibit 30 is a true and correct copy of the Perrigo Company ple
Prospectus Form, filed with the SEC on Form 425 on November 10, 2015.

32. Attached as Exhibit 31 is a true and correct copy of a Bloomberg News article
entitled “Perrigo Joins Firms With Generic Drugs Under U.S. Glare,” dated March 3, 2017.

33. | Attached as Exhibit 32 is a true and correct copy of Notice of Motion for
Consolidation of Related Actions, Appointment as Lead Plaintiff, and Approval of Counsel
filed in In re Mylan N.V. Sec. Litig., 1:16-CV-7926 (JPO) (S.D.N.Y.), dated December 12,
2016.

34. Attached as Exhibit 33 is a true and correct copy of the Amended Class
Action Complaint for Violations of Securities Laws filed in In re Mylan N.V. Sec. Litig.,
1:16-CV-7926 (JPO) (S.D.N.Y.), dated March 20, 2017.

35. Attached as Exhibit 34 is a true and correct copy of excerpts from the
transcript from the deposition of Isaac Drucker on March 4, 2019.

36. Attached as Exhibit 35 is a true and correct copy of excerpts from the
transcript from the deposition of Uri Bar Tov on March 4, 2019.

37. Attached as Exhibit 36 is a true and correct copy of excerpts from the

transcript from the deposition of Liat Cohen-David on March 5, 2019.
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38. Attached as Exhibit 37 is a true and correct copy of excerpts from the
transcript from the deposition of Moshe Rabbanyan on March 5, 2019.

39. Attached as Exhibit 38 is a true and correct copy of excerpts from the
transcript from the deposition of Roni Tirosh Maderer on March 6, 2019.

40. Attached as Exhibit 39 is a true and correct copy of excerpts from the
transcript from the deposition of Yuval Beer Even on March 6, 2019.

41. Attached as Exhibit 40 is a true and correct copy of Exhibit 2 referenced
during the depositions of Moshe Rabbanyan, on March 5, 2019, and Yuval Beer Even, on
March 6, 2019, containing Appendix 1 to Lead Plaintiff's Corrected Responses and
Objections to Defendant Perrigo Company, ple’s First Set of Interrogatories, dated March
4, 2019.

42. Attached as Exhibit 41 is a true and correct copy of Exhibit 16 referenced
during the deposition of Liat Cohen-David, on March 5, 2019, containing Lead Plaintiff's
Update to Appendix 1 of Lead Plaintiffs Corrected Responses and Objections to
Defendant Perrigo Company, ple’s First Set of Interrogatories, dated March 5, 2019.

43. Attached as Exhibit 42 is a true and correct copy of Exhibit 13 referenced
during the depositions of Uri Bar Tov, on March 4, 2019, Moshe Rabbanyan, on March 5,
2019, and Yuval Beer Even, on March 6, 2019, containing a copy of a Haaretz story dated
June 23, 2015 and entitled “The Ticker: Top Mylan Executive In Israel to Pitch Perrigo

Bid,” dated March 4, 2019.
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44. Attached as Exhibit 43 is a true and correct copy of Mylan N.V.’s definitive
proxy statement filed with the SEC on Form 14A on July 28, 2015.

45. Attached as Exhibit 44 is a true and correct copy of excerpts from the
transcript from the deposition of Dr. Zachary Nye on April 2, 2019.

Pursuant to 28 U.S.C. § 1746, I declare under penalty of perjury under the

laws of the United States of America that the foregoing is true and correct.

Executed on April 17, 2019.

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Mal lah fe ee
James E. Anklam

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